                 Case 1:21-cv-00532-SAG Document 95-6 Filed 09/06/21 Page 1 of 3               Exhibit K
bocarrasco47@outlook.com

From:                Bryce Carrasco
Sent:                Friday, February 19, 2021 12:54 PM
To:                  Office of the President
Subject:             FW: Correspondence Response Email


Please confirm receipt and acknowledgement of my request for documentary evidence of the legal obligation between
myself and MTB.

Chris, I will hold you accountable for attempting to enforce a legal obligation without any certificate or proof of an
agreement if you are unable to provide a copy of the application or proof of delivery of the terms and conditions specific
to the promotional offer, which is explicitly distinct from the standard credit agreement you have provided in a
fraudulent attempt to enforce a contract without proper proof of validity. Since I did not use the card at any point, I did
not indirectly consent to the terms of the agreement through the use of the card, and thus numerous rights protected
under U.S. Code are breached by not ensuring consumer has been afforded the protected right so guaranteed under
U.S. code. I still have not signed the physical card either. You can’t hide from the truth. And I am holding you
accountable for illegal conduct. Ignoring me only makes it more obvious that you are not forthcoming in your
communications with customers. This is egregious conduct and has no place in our financial system.

From: Bryce Carrasco <bocarrasco47@outlook.com>
Sent: Friday, February 19, 2021 6:45 AM
To: Office of the President <OfficeofthePresident@mtb.com>
Subject: Re: Correspondence Response Email

I expect a response in short order. From where I am standing, I don’t see a possible logic to playing hardball anymore.
Your disclosures and customer service during an unprecedented pandemic are utterly reprehensible and embarrassing.
It’s bad business and i would have a hard time sleeping at night if I were preying on consumers like Mr. Kay does with his
clear attitude of nonchalance and avoidance of any responsibility. I am calling you out Chris for not having the strength
to speak with me directly. If you run the consumer credit business, this is squarely on you. It’s unethical and desperate.
The debt obligation is valid, but the notion that I was bona fide delinquent is a joke. I never even used the credit card as
you will see if you even cared to look. I bet you can’t even find my account application because your internal records are
such a train wreck ‐ it’s clear you are a running a boiler room call center and using predatory techniques to take
advantage of consumers. I see you for what you are and it’s a disgrace. I will probably take this to court regardless of
what you choose to do. If you had an ounce of dignity or pride in yourself you would call each credit agency and say
what you previously reported was bogus and without any basis. You are mandated by federal law to tell them I am
disputing the delinquency, but it looks like you are pretty comfortable breaking the law. You are a morally bankrupt
chop shop unable to compete for legitimate market share

Bryce Carrasco
Mobile: (410) 858‐7432
Email: bocarrasco47@outlook.com

From: Bryce Carrasco
Sent: Thursday, February 18, 2021 5:24:05 PM
To: Office of the President <OfficeofthePresident@mtb.com>
Subject: RE: Correspondence Response Email

“M&T also placed phone calls to the telephone number provided by you when your account became delinquent.”

                                                             1
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This statement is patently false. I provided my cell phone number 410‐858‐7432 and this will be on file at the Baltimore
office, and I will request to have this subpoenaed during discovery.

From: Janker, Caitlin <cjanker@mtb.com> On Behalf Of Office of the President
Sent: Thursday, February 18, 2021 4:19 PM
To: bocarrasco47@outlook.com
Subject: Correspondence Response Email




     **Secure Email Notice**

     Account re‐registration will be required due to a recent upgrade
     enhancement to our Email Encryption system.

     An M&T Bank employee has sent you a secure email message that
     contains confidential information. The sender’s email address is
     listed in the "from" field of this message. If you have any concerns
     about the validity of this message, please contact the sender
     directly, or your M&T Relationship Manager.

     To retrieve your secure message, you will need to access our
     secure, encrypted email delivery system:

     Existing Users

     1. Select the "Click Here" link below

     2. Enter your password*

     New Users

     1. Select the "Click Here" link below

     2. Complete the registration process

     3. Enter your password

     *Please note that we have recently updated our secure, encrypted
     email delivery system. If this is the first time you are receiving
     secure email from us since our upgrade, you will need to go
     through the registration process and create a new password. After
     you register, you can leverage your new password to access all
     future secure emails from M&T Bank.



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       .

       Click here by 2021‐05‐19 17:26 EDT to read your message.
       After that, open the attachment.


       More Info



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by an individual, email, phone call or text claiming to represent M&T Bank, or if you believe
you have been a victim of fraud related to your M&T accounts, please contact us
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